                               Fourth Court of Appeals
                                     San Antonio, Texas
                                 MEMORANDUM OPINION
                                         No. 04-24-00403-CV

                                         Lydia MARTINEZ,
                                              Appellant

                                                  v.

                                 33 REAL CONSTRUCTION LLC,
                                           Appellee

                      From the County Court at Law No. 2, Webb County, Texas
                                Trial Court No. 2024CVD000002L2
                            Honorable Victor Villarreal, Judge Presiding

PER CURIAM

Sitting:          Luz Elena D. Chapa, Justice
                  Irene Rios, Justice
                  Beth Watkins, Justice

Delivered and Filed: August 21, 2024

DISMISSED FOR WANT OF PROSECUTION

           On June 14, 2024, Appellant Lydia Martinez filed a notice of appeal. When appellant filed

the notice of appeal, she was required to pay a $205.00 filing fee. See TEX. R. APP. P. 5. However,

appellant did not pay the filing fee, and we notified appellant in writing the notice of appeal had

been conditionally filed because the $205.00 filing fee had not been paid. We instructed appellant

to pay the fee by July 8, 2024 and cautioned if the fee was not paid, the appeal was subject to being

stricken by this court. The fee was not paid.
                                                                                      04-24-00403-CV


        On July 11, 2024, we ordered appellant, by August 1, 2024, to either: (1) pay the filing fee;

or (2) provide written proof she was entitled to appeal without paying the $205.00 filing fee. We

warned appellant if she failed to respond within the time ordered, we would dismiss the appeal.

See TEX. R. APP. P. 5, 42.3(c).

        Appellant has not paid the filing fee or otherwise responded to our order. Accordingly, we

dismiss this appeal. See TEX. R. APP. P. 5, 42.3(c); Zayas v. Denson, No. 04-18-00373-CV, 2018

WL 3551193, at *1 (Tex. App.—San Antonio July 25, 2018, no pet.) (mem. op.) (dismissing

appeal for failure to pay filing fee).


                                                  PER CURIAM




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